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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 14-321V
                                    Filed: October 21, 2019

* * * * * * * * * * * * *
ASHLEY RICE and CRAIG RICE *                                       UNPUBLISHED
parents of R.R, a minor,   *
                           *
              Petitioners, *                                       Decision on Joint Stipulation;
                           *                                       Acute Hemorrhagic
v.                         *                                       Leukoencephalitis (“AHLE”);
                           *                                       Acute Disseminated
SECRETARY OF HEALTH        *                                       Encephalomyelitis (“ADEM”);
AND HUMAN SERVICES,        *                                       Measles-mumps-rubella
                           *                                       (“MMR”) Vaccine; Hepatitis A
              Respondent.  *                                       Vaccine; Influenza Vaccine
* * * * * * * * * * * * *
Edward Kraus, Esq., Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Traci Patton, Esq., US Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Roth, Special Master:

        On April 21, 2014, Ashley and Craig Rice [“Mr. and Mrs. Rice” or “petitioners”] filed a
petition for compensation under the National Vaccine Injury Compensation Program 2 on behalf of
their minor child, R.R. Petitioners allege that R.R. suffered from acute hemorrhagic
leukoencephalitis (“AHLE”), a severe form of acute disseminated encephalomyelitis (“ADEM”)
after receiving measles-mumps-rubella (“MMR”), hepatitis A, and influenza vaccinations on
March 26, 2012. Stipulation, filed Oct. 18, 2019, at ¶¶ 1-4. Respondent denies that any of the
aforementioned immunizations caused R.R.’s injury or her current condition. Stipulation at ¶ 6.



1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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         Nevertheless, the parties have agreed to settle the case. On October 18, 2019, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payments:

           (1) A lump sum of $741,454.94, representing compensation for first year life care
           expenses ($141,454.94) and trust seed funds ($600,000.00), in the form of a check
           payable to Regions Bank, as trustee of the grantor reversionary trust established for the
           benefit of R.R.;

           (2) A lump sum of $586,000.00, representing compensation for lost earnings and pain
           and suffering, in the form of a check payable to petitioners as
           guardian(s)/conservator(s) of the estate of R.R., for the benefit of R.R. No payments
           shall be made until petitioners provide respondent with documentation establishing that
           they have been appointed as guardian(s)/conservator(s) of R.R.’s estate;

           (3) A lump sum of $14,000.00, representing compensation for past unreimbursable
           expenses, in the form of a check payable to petitioners, Ashley and Craig Rice;

           (4) A lump sum of $172,366.03, representing reimbursement of a lien for services
           rendered on behalf of R.R., in the form of a check payable jointly to petitioners and

                      DHHS
                      Reporting and Receivables
                      P.O. Box 8355
                      Columbia, SC 29202-9189
                      Case Number: 327172
                      Attn: Latwainia Benjamin

           (5) An amount sufficient to purchase the annuity contract described in paragraph 10
           of the stipulation attached hereto, paid to the life insurance company from which the
           annuity will be purchased. This amount represents compensation for all damages that
           would be available under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision. 3

       IT IS SO ORDERED.

                                             s/ Mindy Michaels Roth
                                             Mindy Michaels Roth
                                             Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                2
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